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16                                  UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA

18
      IN RE: ROUNDUP PRODUCTS                                   MDL No. 2741
19    LIABILITY LITIGATION

20
                                                                Case No. 16-md-02741-VC
21
22    This document relates to:                                 PLAINTIFFS’ OPPOSITION TO
                                                                MONSANTO’S MOTION IN
23    Hardeman v. Monsanto Co., et al.,                         LIMINE NO. 1 TO EXCLUDE
      3:16-cv-0525-VC;                                          EVIDENCE AND TESTIMONY
24    Stevick v. Monsanto Co., et al.,                          REGARDING IARC’S
25    3:16-cv-02341-VC;                                         CLASSIFICATION OF
      Gebeyehou v. Monsanto Co., et al.,                        GLYPHOSATE
26    3:16-cv-5813-VC
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     PLAINTIFFS’ OPPOSITION TO MONSANTO’S MOTION IN LIMINE NO. 1 TO EXCLUDE EVIDENCE AND TESTIMONY REGARDING
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 1                                             INTRODUCTION
 2          IARC is relevant to the first Phase of trial because the classification, by one of the most
 3   prestigious research organizations in the world, supports the opinions of Plaintiffs’ experts. All of

 4   Plaintiffs’ experts considered the data evaluated by IARC, and more, in concluding that exposure to

 5   GBFs is associated with a risk of NHL. IARC thus goes to the weight afforded by the jury to

 6   Plaintiffs’ experts’ opinions as one piece of reliable data considered by these experts. Monsanto’s

 7   atomized qualms with the IARC classification—and the basis for Plaintiffs’ experts’ opinions to the

 8   extent that they rely upon IARC—are for cross-examination and irrelevant to the admissibility of

 9   such general causation evidence.

10          Moreover, as explained in greater depth below, introducing IARC during Phase 1 does not

11   warrant admission of a slew of regulatory evaluations which are unaccompanied by the foundational

12   testimony of a competent witness. In contrast to the evaluations of European regulators and the EPA,

13   which have no sponsoring witness (not to mention the EPA’s incomplete interim analyses), Plaintiffs

14   are able to proffer witnesses who can testify competently, from first-hand knowledge, regarding

15   IARC’s methods and process which led up to the classification of glyphosate. To the extent that

16   Monsanto is permitted to introduce regulatory evaluations to counter IARC, the volume and type of

17   such evidence should be limited—as discussed below—and Plaintiffs should be able to challenge the

18   credibility of regulatory evaluations by presenting evidence of Monsanto’s conduct in affecting the

19   outcome of such agencies’ decisions.

20          Lastly, introducing IARC is important for disabusing the jury of the assumption that Roundup

21   is unlikely to be a carcinogen merely because it has been marketed for over forty years, presumably

22   with approval from regulators. Given that IARC was the institutional turning-point on glyphosate

23   safety following decades of independent science indicating a risk, the jury should be informed of the

24   classification both as a means of gauging the weight and credibility of Plaintiffs’ experts’ opinions,

25   and to prevent unchallenged, extraneous assumptions from unduly influencing the determination of

26   causation.

27                                               ARGUMENT

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                                                        2

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 1          As an initial matter, Monsanto does not contend that the IARC classification of glyphosate is
 2   irrelevant to the issues to be adjudicated in Phase 2. As such, Plaintiffs limit their response to
 3   explaining the import of the IARC classification to Phase 1 of trial.
 4          In determining “what the science actually shows” relative to causation, the jury will hear
 5   testimony from Plaintiffs’ experts in the fields of epidemiology, toxicology, mechanism, and
 6   exposure. As an internationally renowned research agency, which evaluated much of the same
 7   independent evidence considered by Plaintiffs’ experts, IARC’s classification thus goes to the weight
 8   of Plaintiffs’ experts’ testimony. See, e.g., Baxter Healthcare Corp. v. Denton 120 Cal.App.4th 333,
 9   349 (2004) (recognizing IARC as “as an authoritative body on the identification of chemicals causing
10   cancer.”); Ref. Manual at 564, n. 46 (same). The jury should be permitted to hear that Plaintiffs’
11   experts’ opinions are supported by the conclusions of a prestigious research organization when
12   deciding how much weight to afford Plaintiffs’ scientific evidence.
13          Moreover, Monsanto’s contention, and this Court’s holding during the general causation
14   stage—that IARC does not consider exposure at real-world levels—is misplaced. While it is true that
15   IARC can identify hazards which can cause cancer at levels not currently experienced by humans, it
16   does not always do just that. Here, with glyphosate, IARC’s classification did in fact conclude that
17   “glyphosate causes NHL in doses within the realistic realm of actual human exposure…” In re
18   Roundup Prod. Liab. Litig., No. 16-MD-02741-VC, 2018 WL 3368534, at *7 (N.D. Cal. July 10,
19   2018). As the IARC Director stated in January 2018, responding to this very criticism raised by
20   Monsanto:
21          A charge levelled at the Monographs is that evaluations are divorced from the ‘real
            world’ i.e. are made without taking account of realistic human exposures. However,
22          epidemiological studies are a central part of Monograph evaluations and, by definition
23          deal with people exposed in daily life, including at work. The studies frequently
            consider the gradient of risk observed with different levels of exposure. One part of
24          the Monograph evaluation is specifically dedicated to describing the circumstances
            under which human exposure occurs and at what levels. In addition, when
25          considering scientific evidence of carcinogenicity including biological mechanisms,
26          the Working Groups place special emphasis on whether the observations are relevant
            to humans. In light of occurring (“real world”) human exposures, Working Groups
27          synthesize evidence in humans, animals and other model systems in reaching overall
            conclusions.
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 1   Ex. 1, Briefing Note for IARC Scientific and Governing Council Members Prepared by the IARC
 2   Director (January 2018) (“IARC Briefing Note”) (emphasis added).1 Dr. Jameson’s—who was a
 3   member of the IARC Working Group— and Dr. Portier’s respective Daubert testimonies also
 4   confirmed that Working Group 112 accounted for real-world exposures to GBFs before concluding
 5   that GBFs are Class 2A carcinogens. See Ex. 2, Jameson Test. at 427:4-21; Ex. 3, Portier 04/6/18
 6   Test. at 81:2-10. Put simply, the IARC Monograph, while not dispositive of the issue of general
 7   causation, is a reliable piece of evidence that Plaintiffs’ experts considered in arriving at their
 8   opinions. And, the jury will be better placed to probe the bases for Plaintiffs’ experts’ opinion if
 9   presented with evidence and testimony regarding the IARC classification.
10           Furthermore, Monsanto concedes that its disputes with the IARC classification—such as the
11   fact that Monograph 112 was published prior to Andreotti, et al. (2018)—is the stuff of cross-
12   examination. Mtn. at 3. This issue is unlikely to create a “sideshow” given that Monsanto can
13   simply point out to the jury that Andreotti, et al. (2018) was published after IARC finished reviewing
14   the evidence, and argue to the jury why the findings of one study should be dispositive of causation.
15   Monsanto cannot persuasively argue that the jury will be sidetracked by an inquiry of what IARC did
16   or did not review without offering other data supposedly not considered by IARC. That is because
17   IARC considered substantively the same literature reviewed by regulatory agencies such as the EPA,
18   but placed more weight on independent, peer-reviewed studies rather than industry-sponsored data.2
19   Again, such disputes go the weight of the expert opinions presented to the jury.
20           Evidence regarding IARC does not warrant opening the door to the conclusions of regulatory
21   agencies. First, Monsanto cannot present a single witness to testify competently about the
22   procedures, practices, and methods employed by bodies such as ECHA, EFSA, Bfr, Health Canada,
23   or indeed, the EPA in reaching their conclusions on glyphosate. No witness can walk the jury
24
     1 Admittedly, the IARC Briefing Note was not part of the MDL record at the commencement of the Daubert hearing on
25   March 5, 2018 given that Plaintiffs’ expert reports and briefs had been submitted by the time the Briefing Note was
     published. However, Plaintiffs introduced the Briefing Note during the hearing in response to Judge Chhabria’s concerns
26   regarding analysis of real-world exposures in IARC’s analysis. See Ex. 2, Jameson Test. at 426:22-427:24.
     2 Although regulatory agencies are privy to the underlying animal bioassays provided by registrants, IARC had access to
27   such data through the Greim, et al. (2015) publication. See, e.g., Ex. 4, IARC Monograph at 34-35. In any event,
     Plaintiffs’ experts did evaluate some of the underlying bioassay data, and their opinions are supported by IARC’s review
28   of the summary Greim, et al. (2015) tables.
                                                                   4

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 1   through how, and under what circumstances, these agencies reached their conclusions. The dangers
 2   of such evidence—presented in a vacuum—is demonstrated by the EFSA glyphosate conclusion,
 3   which evaluated the risk to human health posed by food contaminants. See, e.g., Ex. 5, 11/09/18 Ritz.

 4   Dep at 271:22-272:2 (responding to Monsanto’s questions regarding EFSA’s evaluation). However,

 5   Drs. Jameson and Portier—as participants of Monograph 112—can both testify to the facts of the

 6   IARC glyphosate classification, thereby providing a reliable foundation for its admission.

 7          Second, the 2015 EPA CARC Report and 2016 EPA Glyphosate Issue Paper, including its

 8   follow-up publications, are incomplete interim analyses, and thus do not bear the gravitas for

 9   causation afforded to them by Monsanto. See, e.g., Ex. 6, 2016 Glyphosate Issue Paper at 13 (“The

10   recent peer review performed by CARC served as an initial analysis…”). Such facts provide an

11   independent reason for barring introduction of these reports, as discussed in Plaintiffs’ in limine

12   motion to exclude the recent EPA analyses.

13          Third, allowing Monsanto to bombard the jury with a smorgasbord of conclusions from every

14   regulatory body Monsanto perceives to be favorable to its causation argument should, fairly, open the

15   door to evidence of Monsanto misleading the same agencies regarding glyphosate safety. Monsanto

16   should not be permitted to use bifurcation as both a shield and sword to enter facts in its favor while

17   keeping out undesirable rebuttal evidence. If the Court does allow evidence of evaluations by

18   regulatory agencies to accompany introduction of IARC’s classification, there should be a limit to the

19   volume and type of such regulatory actions heard by the jury, and Plaintiffs should be given the

20   opportunity to challenge the credibility of regulatory evaluations during Phase 1 by pointing to

21   Monsanto’s attempt at influencing agency decisions. For example, Monsanto should be limited to

22   presenting the EPA’s 1993 glyphosate Registration Eligibility Decision (“RED”), and, to the extent

23   the evaluations of European regulatory bodies such as Bfr and ECHA are raised through the cross-

24   examination of Dr. Portier, Plaintiffs should be afforded the opportunity to introduce evidence which

25   demonstrates that Monsanto failed to provide these agencies with Dr. Parry’s evaluations, or the

26   results of Monsanto’s Roundup dermal absorption studies, and that Monsanto hired a scientist to find

27   a “tumor” in the control group of the 1983 Knezevich & Hogan mouse study. It is only fair that the

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 1   jury be presented with the factual circumstances surrounding such regulatory decisions in order to
 2   properly gauge their scientific weight.
 3          Plaintiffs will be materially prejudiced even if the Court is inclined to exclude all evidence of

 4   institutional evaluations of glyphosate, whether by IARC or regulatory agencies. Given that

 5   Roundup has been on the market since 1974 (presumably one of the first facts marshalled during

 6   Monsanto’s opening statement), with ubiquitous promotion by Monsanto regarding its safety and

 7   benefits, the jury is bound to operate under the presumption that U.S. regulators have deemed the

 8   product safe for human use without being privy to evidence of another authoritative body reaching a

 9   contrary conclusion. IARC represents the institutional turning-point on glyphosate safety following

10   decades of independent research evincing a carcinogenic risk with the product, notwithstanding the

11   EPA’s approval. If all evidence of IARC is excluded, a key piece of foundational scientific evidence

12   for Plaintiffs’ experts’ opinions will be omitted while Monsanto reaps the benefits of the jury’s

13   extraneous assumptions.

14          In any event, IARC can be presented to the jury through the testimonies of Plaintiffs’ fact and

15   expert witnesses with an appropriate limiting instruction regarding the extent to which the jury may

16   consider the classification. However, Plaintiffs’ experts should not be limited in their discussion of

17   IARC as a piece of evidence that they considered in forming their causation opinions, and Plaintiffs

18   should be permitted to educate the jury on the factual circumstances of the IARC classification

19   through the testimony of Dr. Jameson. Monsanto’s proposal, while dressed as a limiting instruction,

20   boils down to an attempt at improperly circumscribing Plaintiffs’ experts’ testimonies, contrary to the

21   Court’s Daubert ruling. Should the Court admit IARC during Phase 1, subject to the Court’s ruling

22   on the admissibility of regulatory evaluations, Plaintiffs are amenable to conferring with Monsanto to

23   craft an appropriate limiting instruction.

24                                                CONCLUSION

25          For the foregoing reasons, the Court should deny Monsanto’s motion in limine to exclude

26   evidence and argument regarding IARC’s classification of glyphosate during Phase 1.

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19                                      CERTIFICATE OF SERVICE

20          I certify that on January 30, 2019, I electronically filed the foregoing document with the Clerk
21   of the Court using the CM/ECF system, which will send notification of such filing to the CM/ECF
22   participants registered to receive service in this MDL.
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